             Case 2:16-cr-00130-ER Document 524 Filed 07/31/18 Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       CRIMINAL ACTION
                                     Plaintiff
UNITED STATES OF AMERICA
        V.


CHARLES M. HALLINAN                                    No.16-130-1
                                     Defendant

                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

    Notice is hereby given that an official transcript of a proceeding held on 7/23/18 has been filed
by the Office of the Clerk of Court in the above-captioned matter. The parties have seven (7)
business days to file with the court a Notice oflntent to Request Redaction of this transcript. If no
such Notice is filed, the transcript may be made remotely electronically available to the public
without redaction after ninety (90) calendar days.

    Unless otherwise ordered by the court, the attorney must review the following portions of the
transcript:

    •            opening and closing statements made on the party's behalf;
    •            statements of the party;
    •            the testimony of any witnesses called by the party;
    •            sentencing proceedings; and
    •            any other portion of the transcript as ordered by the court.

    Any party needing a copy of the transcript to review for redaction purposes may purchase a
copy through the Office of the Clerk of Court or view the document at the Clerk's Office public
terminal.



                                                                 Mark Ciamaichelo, Deputy Clerk

Date: July 31, 2018

                                        Certificate of Service

   I hereby certify that on July 31, 2018 , I served the forgoing notice upon the parties in this
matter via e-mail and/or via first-class mail as indicated in the attached Notice of Electronic filing.




                                                            h    Mark Ciamaichelo, Deputy Clerk
